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                              Document     Page 1 of 7
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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                               CINCINNATI DIVISION

 In Re:                                         Case No. 1:16-bk-11998

 Raymond Walker                                 Chapter 13

 Debtor.                                        Judge Beth A. Buchanan

                               CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on August 23, 2021 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by first class mail on August 23, 2021 addressed to:

          Raymond Walker, Debtor
          1917 Neyer Ave.
          Cincinnati, OH 45225

                                                Respectfully Submitted,

                                                /s/ Molly Slutsky Simons
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                                                Sottile & Barile, Attorneys at Law
                                                394 Wards Corner Road, Suite 180
                                                Loveland, OH 45140
                                                Phone: 513.444.4100
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                                                Attorney for Creditor
